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                     ‐ Exhibit 5 ‐
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                       __________  DistrictofofCalifornia
                                                         Northern District      __________

                            TOBY HOY                                           )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      4:21-cv-04875-YGR
                                                                               )
                HI.Q, INC. d/b/a HEALTH IQ                                     )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                               ZEETOGROUP, LLC

                                                       (Name of person to whom this subpoena is directed)

     ✔
     u Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See the attached Schedule A.


 Place: Magna Legal Services via remote means                                          Date and Time:
                                                                                                         1/24/2022 9:00 AM PST

          The deposition will be recorded by this method:                     Videographer and/or Stenographer

       ✔
       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                       See the attached Schedule B.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        1/09/2022
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Anthony I. Paronich
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiffs                                                              , who issues or requests this subpoena, are:
Paronich Law, P.C., 350 Lincoln Street, Suite 2400, Hingham, MA 02043, anthony@paronichlaw.com, (617) 485-0018

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                 Exhibit 5 - Page 25
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                               DEPOSITION TOPICS SCHEDULE A

          Unless otherwise indicated, the RELEVANT TIME PERIOD for the purposes of this

  Notice of Deposition is from four years prior to the filing of the Complaint in this matter to the

  present.

          As used throughout this Notice of Deposition, the following terms have the following

  indicated meanings:

          1.      The term “DOCUMENT” or “DOCUMENTS” as used herein shall refer to all

  writings as defined in Fed. R. Civ. P. 34(a)(1)(A), however produced or reproduced or archived

  or stored, within YOUR possession or subject to YOUR control, of which YOU have knowledge

  or to which YOU now have or previously had access, including all ELECTRONICALLY

  STORED INFORMATION.

          2.      “ELECTRONICALLY STORED INFORMATION” (“ESI”) as used herein

  means any electronic DOCUMENT or WRITTEN COMMUNICATION and includes, without

  limitation, the following:

          a.      Activity listings of electronic mail receipts and/or transmittals;

          b.      Output resulting from the use of any software program, including without

  limitation word processing DOCUMENTS, spreadsheets, DATABASE files, charts, graphs and

  outlines, electronic mail, text messages, AOL Instant Messenger (or similar program) or bulletin

  board programs, operating systems, source code, PRF files, PRC files, batch files, ASCII files,

  and all miscellaneous media on which they reside and regardless of whether such electronic data

  exist in an active file, deleted file, or file fragment; and

          c.      Any and all items stored on computer memories, hard disks, network servers,

  individual computer workstations or clients, thumb drives, jump drives, CDs, DVDs, cloud

  servers, floppy disks, CD-ROM, magnetic tape, microfiche, or on any other vehicle for digital




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  data storage and/or transmittal, including without limitation a personal digital assistant,

  smartphone and/or tablet, e.g., iPhone, Droid, Blackberry, Galaxy, HTC, iPad, iPod, Kindle,

  Nook or other device. PLAINTIFF requests that ESI be processed and produced in a manner

  that preserves all metadata and that the parties confer regarding the production of metadata and

  the form or any electronic production prior to the gathering or processing of ESI.

          3.     “DATABASE” or “DATABASES” includes any collection of data defined so that

  it can be reorganized and accessed in a number of different ways; any collection of data for one

  or more purposes, usually in digital form; a comprehensive collection of related data organized

  for convenient access, generally in a computer; a collection of information that is organized so

  that it can easily be accessed, managed, and updated; or a structured set of data held in a

  computer

          4.     “POLICY” or “POLICIES” means any instruction(s), practice, procedure,

  directive, routine, guideline, rule, course of conduct or code of conduct, written or unwritten,

  formal or informal, recorded or unrecorded, which were or have been recognized, adopted,

  issued or followed by YOU.

          5.     “HEALTH IQ” means defendant HI.Q, INC. d/b/a HEALTH IQ, as well as any of

  its divisions, affiliates, subsidiaries, successors, predecessors, present or former partners,

  officers, directors, employees, agents, attorneys or representatives.

          6.     “CEGE MEDIA” means the company you interact with regarding www.GET IT

  FREE.us, as well as any of its divisions, affiliates, subsidiaries, successors, predecessors, present

  or former partners, officers, directors, employees, agents, attorneys or representatives.

          7.     “PLAINTIFF” means the Plaintiff in this action.

          8.     “PERSON” or “PERSONS” means any individual, partnership, association,

  corporation, joint venture, governmental or administrative body, or other business or legal

  entities.

          9.     “THIRD PARTY” or “THIRD PARTIES” or “OTHER PARTY” means any

  individual, partnership, association, corporation, joint venture, or other business or legal entity


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   not owned or controlled by YOU, or any PERSON that does not receive an annual salary from

   YOU, including but not limited to affiliates, agents, and subsidiaries of YOU.

          10.     “VENDOR” or “VENDORS” is a subset of THIRD PARTY and when used in

   this deposition notice means any THIRD PARTY under contract with, hired by, employed by,

   paid by, or working for YOU for purposes of telemarketing activities or services, including, but

   not limited to, generating leads, warm transfers, hot transfers, any other call transfers, making

   outbound calls, and the tracking or aggregation of data related to same. VENDORS specifically

   includes, but is not limited to, the entity that provided the PLAINTIFF’s lead or called the

   PLAINTIFF.

          11.     Topics that include the creation (including any sources of information or ESI),

   modification, use, ARCHITECTURE, and FUNCTIONALITY of any and all DATABASES

   include, but are not limited to, the following subtopics:

          a.      The name of the system, its version, and platform on which it runs;

          b.      Whether the systems store information on premises or on the cloud or a hybrid;

          c.      The custodian of the data (CEGE, or any VENDOR or THIRD PARTY);

          d.      The data used with each system;

          e.      How stored data is accessed;

          f.      Whether the systems archive information;

          g.      Where the archives are stored;

          h.      How data is archived;

          i.      What reporting or analytics features do the systems have;

          j.      What export features do the products have;

          k.      What data fields do the products maintain; and

          l.      Who is responsible for maintaining the systems.

          12.     All other words shall have their ordinary definition as defined by Merriam-

   Webster’s online dictionary, located at http://www.merriam-webster.com/.




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                                                TOPICS

         GET IT FREE.US is hereby directed to designate one or more officers, directors,

  managing agents, or other PERSONS to testify regarding the following topics:

  GET IT FREE Business Structure

         1.         The general nature and scope of GET IT FREE’S business and/or services. This

  subject includes, but is not limited to, GET IT FREE’S business activities, daily operations,

  portfolio of services offered, and business model.


  LEAD GENERATION

         2.         GET IT FREE’S process for obtaining telephone numbers that were sold to CEGE

  MEDIA or HEALTH IQ, including where such telephone numbers came from, who acquired

  them, how they were delivered and any audits or vetting done on them before they were

  delivered.

         3.         GET IT FREE’s knowledge of and participation in the process of receiving and

  obtaining telephone numbers made by THIRD PARTIES it works with, including, but not

  limited to, CEGE MEDIA or HEALTH IQ.




  RELATIONSHIP WITH CEGE MEDIA

         4.         GET IT FREE’s relationship or involvement with CEGE MEDIA, including, but

  not limited to:

                           a.     The nature and scope of services provided by GET IT FREE to

         CEGE MEDIA and vice versa;

                           b.     The negotiation, drafting, implementation, and all other aspects of

         any agreement or scope of work between GET IT FREE and CEGE MEDIA;




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                           c.   The day-to-day relationship between GET IT FREE and CEGE

         MEDIA, including, but not limited to, the identities of any GET IT FREE employees who

         communicate with CEGE MEDIA regarding lead generation, the identities of employees

         of CEGE MEDIA with whom GET IT FREE communicates regarding lead generation,

         the frequency of any meetings with GET IT FREE regarding lead generation, and the

         typical content and form of any communications between GET IT FREE and CEGE

         MEDIA;

                           d.   Any training CEGE MEDIA provided to GET IT FREE related to

         lead generation;

                           e.   GET IT FREE’S disclosure to CEGE MEDIA regarding the

         method, manner, and means by which GET IT FREE promoted HEALTH IQ through

         lead generation;

                           f.   The scope of any access that CEGE MEDIA has to any GET IT

         FREE computer systems, equipment, or DATABASES used for purposes of lead

         generation; the type of such computer systems, equipment, or DATABASES to which

         CEGE MEDIA has access; and the method, manner, and means by which CEGE MEDIA

         accesses such computer systems, equipment, or DATABASES; and

                           g.   Any financial incentives provided by or payments made by CEGE

         MEDIA to GET IT FREE.

         5.      All audits, investigations, inquiries, or studies (collectively “audits”) performed

  by CEGE MEDIA related to lead generation, including, but not limited to, when each audit was

  performed, who performed each audit, why each audit was performed, which PERSONS were

  audited (YOU, THIRD PARTIES, or VENDORS), why each PERSON was audited, and the

  results of each audit.




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  RELATIONSHIP WITH HEALTH IQ

         6.      All aspects of HEALTH IQ’S relationship or involvement with GET IT FREE,

  including, but not limited to:

                         a.        The nature and scope of services provided by GET IT FREE to

         HEALTH IQ;

                         b.        The negotiation, drafting, implementation, and all other aspects of

         any agreement or scope of work between HEALTH IQ and Get it Free;

                         c.        The day-to-day relationship between HEALTH IQ and GET IT

         FREE, including, but not limited to, the identities of any HEALTH IQ employees who
         communicate with Get it Free regarding lead generation, the identities of employees of

         GET IT FREE with whom HEALTH IQ communicates regarding lead generation, the

         frequency of any meetings with GET IT FREE regarding lead generation, and the typical

         content and form of any communications between HEALTH IQ and GET IT FREE;

                         d.        Any training HEALTH IQ provided to Get it Free related to lead

         generation;

                         e.        HEALTH IQ’S knowledge of the other third parties that GET IT

         FREE contracted with for purposes of marketing HEALTH IQ’S products or services;

                         f.        HEALTH IQ’S knowledge of the method, manner, and means by

         which GET IT FREE acquired leads or prospective customers for HEALTH IQ;

                         g.        The scope of HEALTH IQ’S knowledge or participation in

         providing leads to GET IT FREE for purposes of lead generation;

                         h.        The scope of any access that GET IT FREE has to any HEALTH

         IQ computer systems, equipment, or DATABASES used for purposes of lead generation;

         the type of such computer systems, equipment, or DATABASES to which GET IT FREE

         has access; and the method, manner, and means by which GET IT FREE accesses such

         computer systems, equipment, or DATABASES; and



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                          i.     Any financial incentives provided by or payments made by

          HEALTH IQ to GET IT FREE.

          7.      All audits, investigations, inquiries, or studies (collectively “audits”) performed

  by YOU or for YOU related to lead generation, including, but not limited to, when each audit

  was performed, who performed each audit, why each audit was performed, which PERSONS

  were audited (YOU, THIRD PARTIES, or VENDORS), why each PERSON was audited, and

  the results of each audit.


  POLICIES

          8.      GET IT FREE’S POLICIES relating to lead generation, including any POLICIES

  regulating actions by THIRD PARTIES that conduct lead generation for GET IT FREE.

          9.      GET IT FREE’S POLICIES, practices, and procedures relating to the Telephone

  Consumer Protection Act, 47 U.S.C. § 227, including, but not limited to, the rules, regulations,

  opinions, advisories, comments, or filings of the Federal Communications Commission that

  relate to 47 U.S.C. § 227 and 47 C.F.R. § 64.1200(c)(2) & (d).

          10.     GET IT FREE’S efforts to ensure TCPA compliance by THIRD PARTIES and

  VENDORS that conduct lead generation for GET IT FREE, and its own employees (e.g.,

  requiring compliance training, audits, procedures to ensure appropriate consent).


  COMPLAINTS & DO NOT CALL REQUESTS

          11.     Any complaints, grievances, investigations, or actual or threatened litigation from

  private individuals, business bureaus (such as the BBB), and government entities regarding lead

  generation relating to GET IT FREE, and any corresponding response or investigation.

          12.     GET IT FREE’S POLICIES for responding to complaints, including GET IT

  FREE’S intake, investigation, and tracking of complaints, and its development and




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  implementation of those POLICIES. All DATABASES or computer software programs GET IT

  FREE uses to track complaints.


  THIS LITIGATION

         13.    GET IT FREE’S response to the two subpoenas it has received.

         14.    GET IT FREE’S investigation into the lead(s) it provided related to the

  PLAINTIFF.

         15.    GET IT FREE’s investigation and any communications regarding this litigation

  with the VENDOR or THIRD PARTY that contacted the PLAINTIFF.




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                                            SCHEDULE A

                                           INSTRUCTIONS

      1. You are required to search not only for hard copy documents, but for electronically

  generated, maintained or stored information, including data that exist on your computers’ hard

  drives, on computer servers to which you have access, in email accounts, in text messaging

  accounts, and all other places in which responsive electronic data may be stored.

      2. Where possible, all electronically generated, maintained or stored information should be

  produced in its native format and in a format compatible to litigation-support databases and

  review systems. Where possible, such documents should contain searchable text and searchable

  metadata in a load file format. File fidelity and resolution should not be downgraded; for

  instance, electronic files should not be printed and then scanned.

                                            DEFINITIONS

           1.    When used in these Requests, “Defendant” means HI.Q, Inc. d/b/a Health IQ,

  including any subsidiaries or affiliated enterprises, and its officers, directors and employees.

           2.    When used in these Requests, “you” or “your” (or synonyms thereof) means

  ZeetoGroup, LLC, including any subsidiaries or affiliated enterprises, and its officers, directors

  and employees. This includes, but is not limited to, Getitfree.us, and other websites owned by

  ZeetoGroup.

           3.    “CEGE” means Enfuego Holdings LLC d/b/a Cege Media LLC, including any

  subsidiaries or affiliated enterprises, and its officers, directors and employees.

           4.    Unless otherwise instructed, the requests are seeking documents from January 1,

  2018 to the present.




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                                             REQUESTS

         Request No. 1: To the extent you claim that your company obtained permission for

  automated calls or text messages concerning Defendant, produce all documents that identify:

                 A.      Any signed writings evidencing that permission;

                 B.      As it relates to any website visits that you assert are being used in place of

  signed writings:

                         i.     All documents that evidence a clear and conspicuous statement

                         that informed consumers of their right to withdraw their consent to receive

                         telemarketing calls;

                         ii.    All documents that evidence a clear and conspicuous statement

                         that informed consumers of the procedures they must use to withdraw

                         consent, and the procedures they may use to update their contact

                         information that was used as a basis for any alleged consent to make

                         telemarketing calls to them.



         Request No. 2: To the extent you claim that your company obtained permission for

  automated calls or text messages concerning Defendant via websites:

                 A.      Produce documents that identify those website(s) and the specific page(s)

  on those website(s) that you claim constitute consent or permission.

                 B.      For any website identified in response to the prior request, produce all

  access, server and error logs and security and fraud alerts during the period you claim visits to

  that website constituted consent or permission to contact any putative class member with

  telemarketing calls.




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                 C.      For any website identified in response to the prior request, produce all

  architectural diagrams, wireframes and application mockups.

                 D.      Produce all documents that identify the affiliate(s) compensated directly or

  indirectly by you for each purportedly consenting consumer.

                 E.      Produce all documents that identify the referring URL from which each

  purportedly consenting consumer came to your website.

                 F.      If any documents responsive to the requests in this Schedule A are in the

  hands of third parties, produce documents that identify those third parties

         Request No. 3: All contracts or documents representing agreements with third parties,

  including subcontractors or affiliate companies, utilized to perform services for the Defendant or

  CEGE. This includes, but is not limited to, any affiliates that generate traffic at any of your

  websites.

         Request No. 4: All internal correspondence regarding the Defendant or CEGE and the

  process of making calls, selling leads or selling telephone numbers to them or for them.

         Request No. 5: All images, proof and other website architecture that demonstrates that

  the Defendant’s name or any of their registered DBAs appeared on the websites for your

  company. This includes, but is not limited to, the following websites:



         try.getitfree-samples.com
         try.getitfreesamples.net
         try.getitfree.us
         try.get-itfree-samples.com
          try.getitfree-sample.com
          try.getyourfree-samples.com
          try.get-thefree-samples.com
          try.getyourfreesamplesnow.com
          try.getyourfreesampletoday.com
         try.getitfreesample.com


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         try.getyourfree-sample.com
         try.getitfreessamples.com
          try.get-yourfree-sample.com
          try.get-it-freesample.com
          try.get-it-freesamples.com
           try.get-your-freesamples.com
           try.getitfree-samples-today.com
           try.evenmoresamples.com
           try.get-itfree-sample.com
           try.getitfreesamples-now.com
           try.get-your-free-samples-now.com
           try.get-it-free-sample.net
         try.getitfree-sample-today.com
         try.getitfreesamplestoday.com
         try.get-your-free-samples.com
          try.get-it-free-samplestoday.com
          try.getitfree-samples-now.com


         Request No. 6: Communications with any third party concerning the litigation captioned

  on the subpoena.




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